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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE


MARY LOU WENDELL,                             )
                                              )
                       Plaintiff              )
                                              )
       v.                                     )      Case No.
                                              )
CYNTHIA RUMERY-TAYLOR, et al                  )
                                              )
                       Defendants             )


                                   JURISDICTION AND VENUE

       1.       Paragraph 1 of the Complaint calls for a legal conclusion to which an answer is

not required.

       2.       Paragraph 2 of the Complaint calls for a legal conclusion to which an answer is

not required, and therefore deny same.

                                            PARTIES

       3.       Defendants are without sufficient knowledge or information to form a belief as to

the truth of the allegations contained in Paragraph 3 of the Complaint and therefore deny same.

       4.       Defendants admit that Cynthia Rumery-Taylor was employed by the Portland

Police Department. The remainder of Paragraph 4 states a legal conclusion that does not require

a response. To the extent a response is required, the allegations are denied

       5.       Defendants admit the allegations contained in the first sentence of Paragraph 5 of

the Complaint. The remainder of Paragraph 5 states a legal conclusion that does not require a

response. To the extent a response is required, the allegations are denied.

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        6.      Defendants admit the allegations contained in the first sentence of Paragraph 6 of

the Complaint. The remainder of Paragraph 6 states a legal conclusion to which no response is

required. To the extent a response is required, the allegations are denied.

                                  FACTUAL BACKGROUND

        7.      Defendants repeat and replead their responses contained in paragraphs 1 through

6 as if fully stated herein.

        8.      Defendants are without sufficient knowledge or information to form a belief as to

the truth of the allegations contained in Paragraph 8 of the Complaint and therefore deny same.

        9.      Defendants are without sufficient knowledge or information to form a belief as to

the truth of the allegations contained in Paragraph 9 of the Complaint and therefore deny same.

        10.     Defendants deny the allegations contained in Paragraph 10 of the Complaint.

        11.     Defendants are without sufficient knowledge or information to form a belief as to

the truth of the allegations contained in Paragraph 11 of the Complaint and therefore deny same.

        12.     Defendants are without sufficient knowledge or information to form a belief as to

the truth of the allegations contained in Paragraph 12 of the Complaint and therefore deny same.

        13.     Defendants admit that Mr. Pearson asked Ms. Rumery-Taylor to accompany him

to the residence, but deny the remainder of the allegations contained in Paragraph 13 of the

Complaint.

        14.     Defendants deny the allegations contained in Paragraph 14 of the Complaint.

        15.     Defendants are without sufficient knowledge or information to form a belief as to

the truth of the allegations contained in Paragraph 15 of the Complaint and therefore deny same.




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        16.     Defendants admit that Plaintiff and Mr. Shall exited the residence and became

confrontational with Officer Rumery-Taylor and Mr. Pearson, but deny the remainder of the

allegations contained in Paragraph 16 of the Complaint.

        17.     Defendants deny the allegations contained in Paragraph 17 of the Complaint.

        18.     Defendants deny the allegations contained in Paragraph 18 of the Complaint.

        19.     Defendants deny the allegations contained in Paragraph 19 of the Complaint.

        20.     Defendants deny the allegations contained in Paragraph 20 of the Complaint.

        21.     Defendants deny the allegations contained in Paragraph 21 of the Complaint.

        22.     Defendants deny the allegations contained in Paragraph 22 of the Complaint.

        23.     Defendants deny the allegations contained in Paragraph 23 of the Complaint.

        24.     Defendants deny the allegations contained in Paragraph 24 of the Complaint. The

Report speaks for itself.

        25.     Defendants deny the allegations contained in Paragraph 25 of the Complaint.

        26.     Defendants deny the allegations contained in Paragraph 26 of the Complaint.

        27.     Defendants admit the allegations contained in Paragraph 27 of the Complaint.

        28.     Defendants deny the allegations contained in Paragraph 28 of the Complaint.

        29.     Defendants deny the allegations contained in Paragraph 29 of the Complaint.

                                            COUNT I

     DETAINER/SEIZURE WITHOUT LEGAL CAUSE, FALSE ARREST, USE OF
          UNREASONABLE, MALICIOUS AND/OR EXCESSIVE FORCE

                                   42 U.S.C. SECTION 1983


        30.     Defendants repeat and replead their responses to Paragraphs 1 through 29 as if

fully stated herein.

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           31.    Defendants deny the allegations contained in Paragraph 31 of the Complaint.

           WHEREFORE, Defendants respectfully request judgment in their favor, plus their costs

of suit.

                                              COUNT II

                     FAILURE TO TRAIN AND SUPERVISE PERSONNEL
                             VIOLATION OF CIVIL RIGHTS


           32.    Defendants repeat and replead their responses to Paragraphs 1 through 31 as if

fully stated herein.

           33.    The allegations contained in Paragraph 33 of the Complaint call for a legal

conclusion to which and answer is not required, and therefore deny same.

           34.    Defendants deny the allegations contained in Paragraph 34 of the Complaint.

           35.    Defendants deny the allegations contained in Paragraph 35 of the Complaint.

           36.    Defendants deny the allegations contained in Paragraph 36 of the Complaint.

           WHEREFORE, Defendants respectfully request judgment in their favor, plus their costs

of suit.

                                    AFFIRMATIVE DEFENSES

           1.     Defendants affirmatively defend by stating that Plaintiff’s Amended Complaint

fails to state a claim upon which relief may be granted.

           2.     Defendants affirmatively defend by stating that Plaintiff’s Amended Complaint is

barred by the statute of limitations.

           3.     Defendants affirmatively defend by stating that their conduct was privileged.

           4.     Defendants affirmatively defend by stating that Plaintiff has failed to mitigate her

own damages.

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       5.      Defendants affirmatively defend by stating that Plaintiff’s Complaint is barred by

the doctrine of absolute immunity and/or qualified immunity.

       6.      If any of Defendants’ acts are found to have been unlawful and/or

unconstitutional, Defendants had no knowledge of such illegality or unconstitutionality at the

time of the alleged conduct and at all times were acting in good faith.

       7.      Any action taken by Defendant Rumery-Taylor was based upon probable cause to

arrest and her right to use a reasonable amount of force to overcome Plaintiff’s resistance to

being taken into custody.

       8.      Named Defendant Portland (Maine) Police Department is not a legal entity with

the capacity to sue or be sued and therefore is not a proper party in this action.

       9.      Defendant City of Portland, Maine has no liability for damages because the

conduct of any of its employees did not violate clearly established law and therefore any alleged

failure to hire, train, manage, discipline, or supervise could not have been a proximate cause of

Plaintiff’s damages.

       10.     Defendants’ conduct did not rise to the level of a constitutional violation, but, at

most, amounts to a common law tort, which tort liability is barred by the provisions of the Maine

Tort Claims Act, 14 M.R.S.A. § 8101, et seq.

       11.     No clearly established rights of Plaintiff were violated by Defendants’ actions.

       12.     The amount of force used by Defendant Rumery-Taylor was objectively

reasonable in light of the facts and circumstances surrounding the incident, including specifically

Plaintiff’s resistance to being taken into custody and the attack by Plaintiff’s children against

Defendant Rumery-Tayor, at Plaintiff’s direction..



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        13.        The amount of force used, if any, by Defendant Rumery-Taylor was only that

amount which she subjectively believed was reasonable and necessary under the circumstances.

        14.        Plaintiffs’ claims are barred by the doctrine of estoppel and/or preclusion.

        15.        Defendants affirmatively defend by stating that Plaintiff’s injuries, if any, were

not caused by any municipal policy or custom, or any failure to train or supervise its

employees/police officers.

        17.        Defendants affirmatively defend by stating that no supervisory liability claim can

lie in the absence of a violation of Plaintiff’s rights by an officer that is observed by a

supervisory officer who had a reasonable opportunity to intervene and stop such violation but

failed to do so.



        DATED at Portland, Maine this 9th day of November, 2015.



                                                         /s/Edward R. Benjamin, Jr.
                                                         /s/Kasia S. Park_________
                                                         Edward R. Benjamin, Jr.
                                                         Kasia S. Park
                                                         Attorneys for Defendants
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                               CERTIFICATE OF SERVICE



       I hereby certify that on November 9, 2015, I electronically filed Defendants’ Answer to

Complaint with the Clerk of the Court using the CM/ECF system which will send notification of

such filings(s) to the following: Judy Potter, Esquire and David J. Van Dyke, Esquire.



                                                    /s/Edward R. Benjamin, Jr
                                                    Edward R. Benjamin, Jr.
                                                    Attorney for Defendants
                                                    Drummond Woodsum
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